                                         Case 4:15-cv-03504-YGR Document 611 Filed 06/24/21 Page 1 of 1




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                                   3                                   UNITED STATES DISTRICT COURT

                                   4                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   6     CARL WASHINGTON, ET AL.,                          CASE NO. 15-cv-03504-YGR
                                   7                    Plaintiffs,                        JUDGMENT ON VERDICT
                                   8            vs.

                                   9     CVS PHARMACY, INC.,
                                  10                    Defendant.
                                  11

                                  12          This class action came on for jury trial beginning on June 7, 2021, before the undersigned.
Northern District of California
 United States District Court




                                  13   Witnesses were sworn and testified. After hearing the evidence, the jury was instructed by the
                                  14   Court, and the case was submitted to the jury on June 22, 2021. Nine sworn jurors deliberated.
                                  15          On June 23, 2021, a jury rendered a verdict in favor of defendant CVS Pharmacy, Inc.
                                  16   (“CVS”) on each of the consumer protection statutes of Arizona, California, Florida, Illinois,
                                  17   Massachusetts, and New York. (Dkt. No. 609.) Thereafter, the Court adopted the jury’s findings
                                  18   and found in favor of CVS on the claim under California’s Unfair Competition Law.
                                  19          Accordingly, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that plaintiffs and class
                                  20   members shall recover nothing against CVS and JUDGMENT is entered in favor of CVS.
                                  21          There being no reason for delay, the Clerk shall enter this JUDGMENT forthwith.
                                  22   Dated: June 24, 2021
                                  23                                                  ______________________________________
                                                                                            YVONNE GONZALEZ ROGERS
                                  24                                                   UNITED STATES DISTRICT COURT JUDGE
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